 1   DAVID BURCHARD,
     CHAPTER 13 TRUSTEE
 2   PO BOX 8059
     FOSTER CITY, CA 94404
 3   Tel: (650) 345–7801 Fax: (650) 345–1514
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 5
                              UNITED STATES BANKRUPTCY COURT
 6
                              NORTHERN DISTRICT OF CALIFORNIA
 7

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                                                    )
10   In re                                          )       Case No.: 18-10482 DM
                                                    )
11   EVETTE FRANCES and KEVIN CORTEZ                )       TRUSTEE’S OBJECTION TO DEBTOR’S
                                                    )       MOTION TO MODIFY CHAPTER 13
12   MINOR                                          )       PLAN
                                                    )
13                      Debtor.                     )
                                                    )
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15   TO THE UNITED STATES BANKRUPTCY JUDGE, DEBTOR(S)’ COUNSEL,
16   DEBTOR(S), AND OTHER PARTIES IN INTEREST:
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18           David Burchard, Chapter 13 Trustee (“Trustee”), for the Santa Rosa and San Francisco
19   Divisions of the United States Bankruptcy Court for the Northern District of California, hereby
20   submits the following Objection to the Motion to Modify Chapter 13 Plan proposed by
21   Debtor(s), filed on . This objection is based upon all pleadings, papers and documents filed
22   herein, together with those matters of which judicial notice has been requested, and any oral
23   argument, which may be presented.
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     Case: 18-10482      Doc# 66     Filed: 04/15/20         Entered: 04/15/20 10:39:15   Page 1 of 3
 1          The Trustee is unable to verify the basis for the motion to modify and Debtor’s
 2   substantial change in income and/or expenses without Debtor providing the following
 3   information:
 4

 5            X     Updated Schedules I and J, utilizing the schedules effective December 2015.
 6            X     A signed copy of the debtor’s filed 20__ Federal Income Tax Return
 7          _X__ Verification of income to substantiate change in plan payments in the form of
 8                  payment advices for the last 60 days. If the debtor does not receive payment
 9                  advices, the Trustee requests copies of bank statements for the last 2 months
10                  from all bank accounts in which debtor is a signatory.
11                  Other:
12                  (1) _________________________________________________________
13                  (2) _________________________________________________________
14

15          Therefore, the Trustee requests that this objection be sustained, Debtor’s Application to
16   Modify Chapter 13 Plan be denied, and other relief this Court deems proper.
17

18   Dated: April 15, 2020                        /s/ David Burchard
                                                  DAVID BURCHARD
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                                                  CHAPTER 13 TRUSTEE
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     Case: 18-10482      Doc# 66     Filed: 04/15/20     Entered: 04/15/20 10:39:15       Page 2 of 3
 1                                    CERTIFICATE OF SERVICE
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 3   I am over the age of 18 years and not a party to this action. I am employed by the Trustee whose
 4   business address is 1065 E. Hillsdale Blvd., Suite #200,Foster City, CA. On the date set forth
 5   below, I served a true and correct copy of TRUSTEE’S OBJECTION TO DEBTOR’S
 6   MOTION TO MODIFY CHAPTER 13 PLAN and this Certificate of Service, on the persons
 7   listed below by following our ordinary business practice for service, which is either deposited in
 8   the ordinary course of business with the U.S. Postal Service by first class mail or served by
 9   electronic transmission from the Court, if applicable. I declare under penalty of perjury under
10   the laws of the United States of America that the foregoing is true and correct.
11

12

13   The following recipients have been served via Court’s Notice of Electronic Filing:

14   EVAN LIVINGSTONE
     evanmlivingstone@gmail.com
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17
     Dated: April 15, 2020                         CATHLEEN LEONARD
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                                                          CATHLEEN LEONARD
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     Case: 18-10482      Doc# 66      Filed: 04/15/20     Entered: 04/15/20 10:39:15       Page 3 of 3
